
Per Curiam.
Appellant's motion, filed on November 6, 2018, is treated as a response to the Court's order of October 26, 2018. Upon consideration of the response, the Court has determined that the order denying Appellant's motion to alter or amend judgment is not an appealable order. Fla. R. App. P. 9.130(a)(4). To the extent that Appellant may be seeking review of the underlying Order of Dismissal, the appeal is untimely. Fla. R. App. P. 9.020(i) ; see Pennington v. Waldheim , 669 So.2d 1158, 1160 (Fla. 5th DCA 1996).
DISMISSED .
Wolf, Kelsey, and M.K. Thomas, JJ., concur.
